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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION
In re:                                                      §
                                                            §   Chapter 7
ALEX JONES,                                                 §
                                                            §   Case No. 22-33553
                     Debtor.                                §
                                                            §
In re:                                                      §
                                                            §   Chapter 11
FREE SPEECH SYSTEMS LLC,                                    §
                                                            §   Case No. 22-60043
                     Debtor.                                §
                                                            §
                                                            §

          TRUSTEE’S EMERGENCY MOTION TO (1) CLARIFY TRANSFER OF CONTROL
         AND SIGNING AUTHORITY WITH RESPECT TO DEBTOR’S BANK ACCOUNTS, (2)
         FOR AN ORDER EXTENDING AUTOMATIC STAY IN THE ALEX JONES CASE TO
                   FREE SPEECH SYSTEMS LLC, AND (3) RELATED RELIEF
                                 (Relates to Doc. No. 956)

         This motion seeks an order that may adversely affect you. If you oppose the motion, you
         should immediately contact the moving party to resolve the dispute. If you and the moving
         party cannot agree, you must file a response and send a copy to the moving party. You must
         file and serve your response within 21 days of the date this was served on you. Your response
         must state why the motion should not be granted. If you do not file a timely response, the
         relief may be granted without further notice to you. If you oppose the motion and have not
         reached an agreement, you must attend the hearing. Unless the parties agree otherwise, the
         court may consider evidence at the hearing and may decide the motion at the hearing.

         Emergency relief has been requested. If the Court considers the motion on an emergency
         basis, then you will have less than 21 days to answer. If you object to the requested relief or
         if you believe that the emergency consideration is not warranted, you should file an
         immediate response.


                Christopher R. Murray in his capacity as the Chapter 7 Trustee (the “Trustee”) for the

         bankruptcy estate of Alexander Jones (“Alex Jones”) files this Emergency Motion (the “Motion”)

         to (1) Clarify the Transfer of Control and Signing Authority with Respect to the Debtor’s Bank

         Accounts, (2) for an Order Extending the Chapter 7 Automatic Stay in the Alex Jones Case to Free


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Speech Systems LLC (“FSS,” the “Debtor”), and (3) Related Relief, and in support thereof would

respectfully show the Court as follows:

                                  PRELIMINARY STATEMENT

        1.        The Trustee seeks the Court’s help to preserve the value of its ownership position

in FSS by extending the automatic stay to halt attempted asset seizures by a subset of FSS

unsecured creditors for a limited period while the Trustee conducts an orderly wind-down process

and asset sale.

        2.        Upon the conversion of Alex Jones’ personal bankruptcy case, Alex Jones’ personal

rights in FSS became the property of the chapter 7 estate pursuant to section 541 of the Bankruptcy

Code. This included not only the bare equity interests, but also the non-monetary rights and

responsibilities of the equity holder. These things became property of the estate—subject to this

Court’s jurisdiction—immediately, automatically, and irrespective of any private, contractual, or

state statutory limitations to the contrary.

        3.        Upon his appointment, the Trustee began to assess the chapter 7 estates’ stake in

FSS. The Trustee opened discussions with FSS’s purported secured creditor, PQPR, its employees,

including Alex Jones, its stakeholders, including vendors and counterparties, and its unsecured

creditors, including the Texas and Connecticut judgment plaintiff groups. In addition, the Trustee

immediately engaged counsel, consulted with prior FSS chapter 11 professionals, and contacted

other parties in interest, including the former UCC in the individual bankruptcy case. The Trustee

also took steps to preserve the operational status quo of FSS and to secure oversight of FSS’s

finances. At the same time, the Trustee began planning to wind-up FSS’s operations and liquidate

its inventory.




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        4.        However, this orderly process was imperiled when, on Friday, June 21, 2024, a

subset of FSS’s general unsecured creditors filed applications for a “turnover” order and a post-

judgment writ of garnishment in a Texas state court concerning FSS’s cash and other assets. An

order regarding the turnover motion was filed within about an hour of this Court’s entry of the

Dismissal Order, that order being granted approximately an hour later. The specter of a pell-mell

seizure of FSS’s assets, including its cash, threatens to throw the business into chaos, potentially

stopping it in its tracks, to the detriment of the interests of the chapter 7 estate for which the Trustee

is responsible.

        5.        Thus, the Trustee seeks this Court’s intervention to prevent a value-destructive

money grab and allow an orderly process to take its course.

                                    NATURE OF THE MOTION

        6.        On June 21, 2024, the Court entered the Dismissal Order disposing of the chapter

11 subchapter v voluntary petition filed by FSS. [Dkt. No. 956]. In addition to dismissing FSS’s

chapter 11 case, the Dismissal Order authorized the CRO to transfer control and signing authority

with respect to the Debtor’s bank accounts to the Trustee. Id. Beyond this, through the Dismissal

Order, the Court retained jurisdiction over the following matters: (i) Adversary Proceeding Nos.

24-3038, Elevated Solutions Group, LLC v. Free Speech Systems LLC, et al; 23-3127, Free Speech

Systems LLC v. PQPR, Limited Holdings LLC, et al; and 22-3331, Neil Heslin, et al. v. Alex E.

Jones, et al; (ii) applications for professional fees and expenses; and (iii) the interpretation and

enforcement of the Dismissal Order. Id.

        7.        Despite the Court’s retention of exclusive jurisdiction over the relative proceedings

and making clear that the Trustee was to obtain control and signing authority over certain of the

Debtor’s property, Neil Heslin (“Heslin”) and Scarlett Lewis (“Lewis,” together with Lewis the



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“Judgment Creditors”) filed Applications for a Turnover Order and a Post-Judgment Writ of

Garnishment in the District Court of Travis County, Texas.

       8.       Accordingly, the Trustee files this Motion seeking to preserve the status quo by (1)

clarifying the transfer of control and signing authority with respect to the Debtor’s bank accounts

to Christopher R. Murray in his capacity as the Chapter 7 Trustee for the bankruptcy estate of

Alexander Jones, Case No, 22-33553; (2) extending the chapter 7 automatic stay in the Alex Jones

Case to FSS to allow the Trustee to effectuate an orderly wind-down and sale process; and (3)

authorizing the Trustee to manage FSS’s cash and use it in the course of FSS’s business and wind-

down operations in his discretion.

                                   FACTUAL BACKGROUND

       9.       On July 29, 2022 (the “Petition Date”), FSS filed its voluntary petition for relief

under chapter 11 subchapter v of the Bankruptcy Code. [See Dkt. No. 1]. For reasons stated on the

record at hearing on June 14, 2024, the Court entered the Dismissal Order dismissing FSS’s chapter

11 case. [See Dkt. Nos. 955 and 956].

       10.      Relative here, the Dismissal Order provides that,

             2. The CRO is authorized to transfer control and signing authority with
                respect to the Debtor’s bank accounts to Christopher R. Murray in his
                capacity as the Chapter 7 Trustee for the bankruptcy estate of Alexander
                Jones, Case No. 22-33553. . .

             4. This Court shall retain exclusive jurisdiction over the following matters:
                   a. Adversary Proceeding No. 24-3038, Elevated Solutions
                       Group, LLC v. Free Speech Systems LLC, et al.;
                    b. Adversary Proceeding No. 23-3127, Free Speech
                       Systems LLC v. PQPR, Limited Holdings LLC, et al.;
                    c. Adversary Proceeding No. 22-3331, Neil Heslin, et al. v.
                       Alex E. Jones, et al.; and




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                       d. Applications for approval of professional fees and
                          expenses.1
              5. The Court retains jurisdiction to interpret and enforce this Order.

[Dkt. No. 956] (emphases added).

        11.      The very day this Court entered the Dismissal Order retaining exclusive

jurisdiction over the above matters and authorizing the transfer of control and signing authority

with respect to the Debtor’s bank accounts to the Trustee, the Judgment Creditors filed an

Application for Turnover Order (the “Turnover Application”) in the 261st District Court of

Travis County, Texas.2

        12.      The Turnover Application seeks an order from the Texas state court compelling

FSS to turnover to the Judgment Creditors all non-exempt property (including, but not limited to)

“money held in any bank accounts or being held or controlled by any other third parties at the

direction of Free Speech Systems.”3 To make matters worse, the state court entered an order

granting the Judgment Creditors’ Turnover Application.4 If the order granting the Turnover

Application were allowed to take effect, it would immediately imperil the business operations of

FSS and, therefore, the Trustee’s administration of the chapter 7 estate.

        13.      The Judgment Creditors also filed an Application for Post-Judgment Writ of

Garnishment (the “Garnishment Application”).5 Like the Turnover Application, the



1
    The Court retained jurisdiction to rule on fee applications which are to be paid from cash
    remaining in the estate at the time of closing.
2
    See Ex. A, Plaintiffs’ Application for Turnover Order, and associated exhibits.
3
    See id. at p. 4.
4
    See Ex. B, Executed Turnover Order.
5
    See Ex. C, Plaintiffs’ Application for Post-Judgment Writ of Garnishment, and associated
    exhibits.

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Garnishment Application seeks an order from the Texas state court allowing the Judgment

Creditors to “garnish any amounts under [‘the deposits accounts, an operation accounts, and a

donations account’] or any other account, in this name, or any other name belonging to Free Speech

Systems.”6 Like the Turnover Application, success in garnishing FSS’s accounts would be

threatening to its business operations.

        14.     For these reasons, the Trustee believes emergency relief is warranted, including

entry of an order extending the chapter 7 automatic stay in the Alex Jones case to FSS to allow the

Trustee to effectuate an orderly wind-down and sale process and authorizing the Trustee to manage

FSS’s cash and use it in the course of FSS’s business and wind-down operations in his discretion.

                                     RELIEF REQUESTED

        15.     The Trustee requests that the Court enter an order (1) clarifying the transfer of

control and signing authority with respect to the Debtor’s bank accounts to Christopher R. Murray

in his capacity as the Chapter 7 Trustee for the bankruptcy estate of Alexander Jones, Case No,

22-33553; (2) extending the chapter 7 automatic stay in the Alex Jones case to FSS for 90 days

(without prejudice to the Trustee seeking an extension, if needed) to allow the Trustee to conduct

an orderly wind-down of FSS’s operations and liquidate its inventory; and (3) granting related

authority with respect to cash management.7

        16.     The terms of the Dismissal Order are clear; the CRO was authorized to transfer

control and signing authority with respect to the Debtor’s bank accounts to the Trustee, and this

Court retained exclusive jurisdiction over all related proceedings along with jurisdiction to enforce



6
    See id. at p. 3.
7
        The Trustee, as the 100% owner and sole member (and soon to be manager of FSS) has a
fiduciary duty to the creditors of FSS in addition to his fiduciary duties as the chapter 7 trustee of
the Alex Jones creditors.

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and interpret the Dismissal Order. However, the Judgment Creditors’ collection efforts threaten

the ongoing business of FSS and interfere with the Trustee’s efforts to administer the chapter 7

estate and conduct an orderly wind-down of FSS’s operations. As such, extension of the chapter 7

automatic stay in the Alex Jones case to FSS through the Court’s equitable powers is warranted.

       17.      The Court may exercise its broad equitable powers, recognized interchangeably as

the “doctrine of necessity” or “necessity of payment rule,” to fashion any order or decree that is in

the interest of preserving or protecting the value of the Debtors’ assets. See In re CoServ, L.L.C.,

273 B.R. 487, 496–97 (Bankr. N.D. Tex. 2002) (recognizing the “doctrine of necessity”); see also

In re Young, 416 F. App’x 392, 398 (5th Cir. 2011) (recognizing “[s]ection 105(a) of Title 11

permits the bankruptcy court to exercise broad authority”); In re Trevino, 599 B.R. 526, 543–43

(Bankr. S.D. Tex. 2019) (noting that the bankruptcy court has “broad authority” under section

105(a) of the Bankruptcy Code); In re Padilla, 379 B.R. 643, 667 (Bankr. S.D. Tex. 2007)

(citations omitted) (“Section 105(a) gives bankruptcy courts broad authority to take actions

necessary and appropriate for administering and enforcing the Bankruptcy Code and . . .

‘authorizes a bankruptcy court to fashion such orders as are necessary to further the substantive

provisions of the Bankruptcy Code.’”).

       18.      Applicable here is authority concerning the protections of the automatic stay as it

relates to chapter 11 cases and the insulation of business operations from collections actions. In

that regard, “[t]he stay insures that the debtor’s affairs will be centralized, initially, in a single

forum in order to prevent conflicting judgments from different courts and in order to harmonize

all of the creditors’ interests with one another.” Fid. Mortg. Inv’rs v. Camelia Builders, Inc., 550

F.2d 47, 55 (2d Cir. 1976). By filing the Turnover Application—which the state court has already

entered an order granting—and the Garnishment Application, the Judgment Creditors threaten to



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create the very thing the automatic stay seeks to prevent, conflicting judgments from different

courts and an imbalance between the Debtor’s creditors. See id.

        19.     The Dismissal Order supports extending the Alex Jones chapter 7 automatic stay to

FSS. The Dismissal Order states that “The CRO is authorized to transfer control and signing

authority with respect to the Debtor’s bank accounts to Christopher R. Murray in his capacity

as the Chapter 7 Trustee for the bankruptcy estate of Alexander Jones, Case No. 22-33553.” [Dkt.

No. 956.] (emphases added). By obtaining an order regarding the Turnover Application and filing

the Garnishment Application, the Judgment Creditors directly and adversely affected the Trustee’s

rights. Thus, extension of the Alex Jones chapter 7 automatic stay to FSS is necessary to prevent

the Judgement Creditors from acquiring the very accounts over which the Dismissal Order made

clear the CRO was authorized transfer control and signing authority to the Trustee. See, e.g.,

Queenie, Ltd. v. Nygard Intern, 321 F.3d 287–288 (2d Cir. 2003) (recognizing extension of stay

to a non-debtor as appropriate where it presented immediate adverse economic consequences for

the debtor’s estate).

        20.     In addition to an order staying collection actions against FSS for 90 days (without

prejudice to the Trustee seeking an extension, if needed) to allow the Trustee to conduct an orderly

wind-down of FSS operations and liquidating its inventory, the Trustee requests an award of

attorneys’ fees related to his efforts drafting and prosecuting of this Motion.

        WHEREFORE, the Trustee requests that the Court enter an order, substantially in the form

attached hereto, (i) clarifying the transfer of control and signing authority with respect to the

Debtor’s bank accounts to Christopher R. Murray in his capacity as the Chapter 7 Trustee for the

bankruptcy estate of Alexander Jones, Case No, 22-33553; (ii) extending the chapter 7 stay in the

Alex Jones case to FSS for 90 days (without prejudice to the Trustee seeking an extension, if



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needed) to allow the Trustee to conduct an orderly wind-down of FSS operations and liquidating

its inventory; (iii) authorizing the Trustee to manage FSS’s cash and use it in the course of FSS’s

business and wind-down operations in his discretion; (iv) awarding the Trustee reasonable

attorneys’ fees associated with the drafting and prosecution of this Motion; (v) and granting the

Trustee such other and further relief as the Trustee may be justly entitled.

       Dated: June 23, 2024.
                                                       Respectfully submitted,

                                                       Porter Hedges LLP

                                              By:      /s/ Joshua W. Wolfshohl
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                                                       Counsel to Christopher R. Murray,
                                                       Chapter 7 Trustee




                                 CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing instrument was duly served by
electronic transmission to all registered ECF users appearing in the case on June 23, 2024.

                                                    /s/ Joshua W. Wolfshohl
                                                         Joshua W. Wolfshohl




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